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                                         #:142
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No.        2:24cv07105 CAS (MAAx)                                     Date: June 25, 2025
Title       VACATIONAL BIKE RENTALS, LLC v. KITZUMA CORPORATION; ET AL.


Present: The Honorable:       CHRISTINA A. SNYDER, U.S. DISTRICT SENIOR JUDGE


                   Catherine Jeang                                      Not Present
                    Deputy Clerk                                 Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 Not Present                                        Not Present

Proceedings: (IN CHAMBERS) – ORDER TO SHOW CAUSE

        IT IS HEREBY ORDERED that PLAINTIFF show cause in writing not
later than July 21, 2025, why this action should not be dismissed for lack of
prosecution as to defendant BIKEEXCHANGE LIMITED DBA KITZUMA
CORPORATION DBA KITZUMA CYCLING LOGISTICS, only. In
accordance with Rule 78 of the Federal Rules of Civil Procedure and Local Rule
7.15, oral argument shall not be heard in the above matter unless so ordered by the
Court. The Order to Show Cause will stand submitted upon the filing of briefs.

       Plaintiff is advised that the Court will consider an answer by defendant
BIKEEXCHANGE LIMITED DBA KITZUMA CORPORATION DBA
KITZUMA CYCLING LOGISTICS, or plaintiff’s request for entry of default on
this defendant on or before the above date, as a satisfactory response to the Order
to Show Cause.


                                                                                              00:00
                                                                   Initials of Preparer       CMJ




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